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                              No. 23-1084


         IN THE UNITED STATES COURT OF APPEALS
          FOR THE DISTRICT OF COLUMBIA CIRCUIT


             In re SGCI HOLDINGS III LLC; TEGNA INC.;
                     CMG MEDIA CORPORATION,
                                       Petitioners.


                   On Petition for Writ of Mandamus


RESPONDENT FEDERAL COMMUNICATIONS COMMISSION’S
  OPPOSITION TO PETITION FOR WRIT OF MANDAMUS


     The Federal Communications Commission respectfully opposes

petitioners’ request for a writ of mandamus. Petitioners have failed to

demonstrate their entitlement to such extraordinary relief.

                           INTRODUCTION

     The petitioners here (“Applicants” in the underlying proceeding)

seek the FCC’s approval of broadcast license transfers in connection with

a complex set of four interrelated transactions.      The principal effect

would be for Standard General, a private-equity firm, to acquire Tegna,

a publicly-traded media company that controls 64 licensed television

stations and several other FCC licenses. In addition, Standard General
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would acquire WFXT(TV), a Boston-based television station, from Cox

Media Group, a media company principally owned by Apollo Global

Management. Standard General would in turn transfer to Cox four

television stations that it previously owned and four of the television

stations it would acquire from Tegna.        Finally, Apollo and another

private-equity firm would acquire a $925 million stake in New Tegna,

while Apollo would retain control of Cox, so all of the stations would share

a partial owner in common. 1

      Under the Communications Act, if the FCC is unable to find that a

transfer of a broadcast license would serve the public interest, or if it

finds that substantial and material questions of fact are presented, it is

required to refer the matter to a hearing. 47 U.S.C. §§ 309(d)(2) & (e),

310(d). In this case, the FCC’s Media Bureau found that further inquiry




1
    See Comprehensive Exh. at 3–5 & Exh. A, https://tinyurl.com/5e3pt78n.
    In the proceeding below, Standard General variously included
    Standard General L.P., SGCI Holdings III LLC, their affiliates, and
    their Managing Member Soohyung Kim; Tegna was styled as TEGNA
    Inc.; Cox was known as CMG Media Corporation or CMG; and Apollo
    was sometimes known as AGM. Apollo’s interest in New Tegna is
    described in Tegna’s April 13, 2022 proxy statement filed with the
    SEC, https://tinyurl.com/4hvaz89p; see also Comprehensive Exh. at 4
    n.12; ATVA 6/22/22 Comments at 12–13, https://tinyurl.com/dpv632x3;
    ATVA 8/1/22 Comments at 9–10, https://tinyurl.com/y9u9nwxv.

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is warranted into at least two issues. See Hearing Designation Order, DA

23-149, 38 FCC Rcd. --- (Media Bur. Feb. 24, 2023) (Hearing Order). 2

     •   First, in response to evidence and concerns that the structure

         of the transactions would allow Applicants to artificially

         increase retransmission fees they charge cable and satellite

         providers, which are ultimately passed on to consumers, the

         Bureau asked an Administrative Law Judge (ALJ) to further

         investigate the effect of the transactions on retransmission fees

         and whether that effect is the result of a properly functioning

         competitive marketplace. See id. ¶¶ 19–32.

     •   Second, in response to evidence suggesting that Applicants plan

         to cut local station staffing and investment, including potential

         cuts to local journalism and newsroom staffing, the Bureau

         asked the ALJ to further investigate whether the transaction

         will impair broadcast localism by adversely impacting local

         news and public-affairs programming. See id. ¶¶ 33–50.




2
    The unredacted, confidential version of the Hearing Order is
    reproduced in a Sealed Addendum accompanying this filing. See
    Sealed Add. 1–34.

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      Under the FCC’s rules, the Hearing Order is not subject to

interlocutory appeal (unless certified by the hearing officer, who refused

to do so here). 47 C.F.R. § 1.115(e)(1). Instead, “review of an order

designating a matter for hearing * * * shall be deferred until [after] the

[hearing officer’s] initial decision in the case.” Ibid.

      To be entitled to a writ of mandamus, a party must show “a clear

and indisputable right to relief.” In re Flyers Rights Educ. Fund, Inc., 61

F.4th 166, 167 (D.C. Cir. 2023) (quoting In re Cheney, 406 F.3d 723, 729

(D.C. Cir. 2005)). Given the record before it, the Media Bureau’s

conclusion that the proposed license transfers raise questions warranting

further inquiry before an Administrative Law Judge was entirely

reasonable. And even if there were room for doubt, Applicants come

nowhere close to showing that the Media Bureau’s decision to seek the

benefit of a hearing to flesh out the relevant factual disputes is “‘plainly

and palpably wrong as [a] matter of law.’” Illinois v. Ferriero, 60 F.4th

707, 714 (D.C. Cir. 2023).

      Equally meritless are Applicants’ claims of unreasonable delay, for

which mandamus is warranted “only when agency delay is egregious.” In

re Monroe Commc’ns Corp., 840 F.2d 942, 945 (D.C. Cir. 1988).



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Applicants sought the Commission’s approval of a novel and complex set

of four interrelated transactions, which attracted numerous objections

raising significant issues. In response, in mid-December—nine months

after the applications were originally filed—Applicants filed several

commitment letters intended to address, among other things, the

retransmission fee and local news staffing concerns that had been raised.

After an expedited comment cycle on those letters closed on January 20,

the Media Bureau promptly issued its Hearing Order on February 24.

      As to Applicants’ request for Commission review of the Hearing

Order—a request pending for all of ten days before they sought

mandamus relief—FCC regulations state that review “shall be deferred”

until after completion of the hearing, 47 C.F.R. § 1.115(e)(1), so the

application for review has yet to properly come before the Commission

for consideration or decision. 3 Finally, Applicants do not contend that the

ALJ has engaged in any undue delay; rather, Applicants themselves have

repeatedly sought to enjoin the hearing rather than allow it to proceed.

      The petition for writ of mandamus should be denied.



3
    Applicants have filed a motion to waive the regulation deferring
    consideration of their application for review. That motion remains
    pending, and absent any waiver the regulation continues to govern.

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                             BACKGROUND

           A.    Statutory And Regulatory Background

      Since the early days of radio, Congress has recognized that the

broadcast airwaves are a vital but finite public resource. To ensure that

scarce public spectrum is put to its highest use, Congress directed the

FCC “to maintain the control of the United States over all the channels

of radio transmission; and to provide for the use of such channels, but not

the ownership thereof,” via “licenses granted by Federal authority.” 47

U.S.C. § 301; see id. § 303. The Commission may grant a broadcast

license only if it finds that the license would promote the public interest,

convenience, and necessity. Id. §§ 307(a), 309(a).

      Because a licensee receives only limited usage rights, not ownership

or property rights in the underlying spectrum, the licensee may not freely

sell or transfer a broadcast license as if it were personal property. 4

Instead, the Communications Act provides that “No construction permit




4
    See FCC v. Pottsville Broad. Co., 309 U.S. 134, 138 (1940) (“The
    Communications Act is not designed primarily as a new code for the
    adjustment of conflicting private rights through adjudication. Rather
    it expresses a desire on the part of Congress to maintain, through
    appropriate administrative control, a grip on the dynamic aspects of
    radio transmission.”).

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or station license, or any rights thereunder, shall be transferred,

assigned, or disposed of in any manner, voluntarily or involuntarily,

directly or indirectly, or by transfer or control of any corporation holding

such permit or license, to any person except * * * upon finding by the

Commission that the public interest, convenience, and necessity will be

served thereby.” Id. § 310(d). “Any such application shall be disposed of

as if the proposed transferee or assignee were making [an initial]

application * * * for the permit or license in question * * *.” Ibid.

     The Commission has delegated authority to rule on such

applications in the first instance to its Media Bureau. 47 C.F.R. § 0.61(a).

If a party objects to action taken on delegated authority, it must seek and

await review by the full Commission as “a condition precedent to judicial

review.” 47 U.S.C. § 155(c)(7); see Int’l Telecard Ass’n v. FCC, 166 F.3d

387 (1999) (per curiam). “Applications for [Commission] review of an

order designating a matter for hearing * * * shall be deferred until [after

the hearing], unless the presiding officer certifies such an application for

review to the Commission.” 47 C.F.R. § 1.115(e)(1). An ALJ’s “refus[al]

to certify a matter to the Commission” is “not appealable.” Ibid.




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           B.   Proceedings Below

     1. The underlying applications were filed with the FCC in March

2022. As described above, the applications seek approval of a complicated

set of four interrelated transactions involving multiple parent entities.

See Hearing Order ¶¶ 5–10; Comprehensive Exh., supra note 1, at 3–5.

     2. Once the applications were deemed complete, the Media Bureau

established a pleading cycle for public comment.       After commenters

voiced need for additional information, the Media Bureau issued two

initial information requests. See Hearing Order ¶¶ 11, 13. Those requests

uncovered internal documents reflecting that Applicants expected the

transactions to enable them to substantially increase the retransmission

fees the stations charge cable and satellite providers, which those

providers then pass on to consumers. See infra Part I.B.1. The requests

also uncovered internal documents suggesting that Applicants plan to

reduce local station staffing and investment, including potential cuts to

local journalism and newsroom jobs. See infra Part I.B.2.

     Several commenters “raise[d] concerns [that the transactions] would

result in the imposition of higher retransmission fees in a manner

inconsistent with a functioning, competitive marketplace.” Hearing Order

¶ 12. Commenters also argued that the transactions would “undermine

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localism by reducing the amount and scope of local news coverage because

the Applicants’ business intentions include reporter layoffs.” Ibid. Two

sets of objectors filed formal petitions to deny the license transfers under

47 U.S.C. § 309(d)(1), see Hearing Order ¶ 12, and were later granted full

party status in the ongoing agency proceeding, id. ¶ 54.

      For months, Applicants resisted these concerns. Then in December,

Applicants filed a series of letters making new commitments purporting

to address the objections. The Media Bureau sought comment on those

commitments. Id. ¶ 14. Some commenters supported the commitments

but said that they did not go far enough and that changes or additions

were needed; others argued that the narrow commitments offered could

not resolve the underlying issues. 5

      3. On February 24—barely a month after the pleading cycle on

Applicants’ commitment letters closed—the Media Bureau issued its

Hearing Order. The Media Bureau found that “substantial and material

questions remain” that “warrant further investigation” as to (1) whether

the proposed transactions would cause “possible harm[] to consumers



5
    See ATVA 1/13/23 Comments, https://tinyurl.com/22y5es55; CWA et
    al. 1/13/23 Comments, https://tinyurl.com/3w9947z9; NCTA 1/13/23
    Comments, https://tinyurl.com/yckmhsyh.

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through higher retransmission consent fees” and (2) whether they would

undermine “localism” through “reductions in local jobs.” Hearing Order

¶ 3.

       As the Media Bureau explained, “in order to properly assess the

Applications, it is necessary to understand the extent to which

retransmission consent fees will likely rise as a result of [the

transactions] and the impact of any such rise on competition and * * * the

viewing public,” as well as “the impact the transaction will likely have on

localism and specifically on local jobs at the stations involved.” Id. ¶ 4.

The Hearing Order explained in great detail the basis for these concerns,

examining the partial record adduced so far and the competing

narratives set forth in the numerous submissions received from

interested parties. See id. ¶¶ 19–32 (concerns about transaction-driven

increases in retransmission fees); id. ¶¶ 33–50 (concerns about harm to

localism due to reductions in local journalism and newsroom jobs and

investment).

       Accordingly, the Media Bureau referred the transactions to a full

hearing before an Administrative Law Judge to address the following two

questions:




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      (a) “Whether * * * retransmission consent fees will rise as a result

          of the Transactions, and if so, whether such an increase is the

          result of a properly functioning competitive marketplace * * *

          and further, whether [any non-market-driven increase] would be

          mitigated by the commitments offered by the Applicants;” and

      (b) “Whether, and to what extent, * * * local content and

          programming in the affected communities would be adversely

          affected” by the transactions “and the potential effectiveness of

          the commitments offered by the Applicants.”

Id. ¶ 51 (ordering clauses).

      4. Under longstanding FCC regulations, the Hearing Order is not

subject to interlocutory review “unless the presiding officer certifies such

an application for review to the Commission.” 47 C.F.R. § 1.115(e)(1).

The decision whether to certify an interlocutory appeal is governed by the

same standard that district judges apply under 28 U.S.C. § 1292(b):

“[whether] the matter involves a controlling question of law as to which

there is substantial ground for difference of opinion and * * * immediate

consideration * * * would materially expedite the ultimate resolution of

the litigation.” Ibid. And like under Section 1292(b), “[a] ruling refusing

to certify a matter to the Commission is not appealable.” Ibid.

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      Applicants moved on March 3 to certify the Media Bureau’s Hearing

Order for immediate review. 6 The Administrative Law Judge denied

certification, finding that Applicants failed to raise the types of questions

that would more appropriately be reviewed before the hearing than after.

FCC 23M-06, 2023 WL 2560036 (ALJ Mar. 16, 2023).

      Applicants then proceeded to file an application for Commission

review of the Hearing Order. 7 Absent certification by the Administrative

Law Judge, however, FCC regulations state that review “shall be

deferred” until after completion of the hearing. 47 C.F.R. § 1.115(e)(1).

Applicants requested a waiver of those regulations insofar as they

preclude interlocutory review of the Hearing Order. 8              Such “waiver

requests in general face an adverse presumption” and “‘face[] a high

hurdle even at the starting gate,’” WAIT Radio v. FCC, 459 F.2d 1203,

1207 (D.C. Cir. 1972); see NetworkIP, LLC v. FCC, 548 F.3d 116, 126–28

(D.C. Cir. 2008), and to date no waiver has been granted. The application

for review therefore has not yet come before the full Commission for



6
    Mot. to Certify (Mar. 3, 2023), https://tinyurl.com/3j5bh7we.
7
    App’n for Review of Hr’g Designation Order (Mar. 17. 2023),
    https://tinyurl.com/4uupws6e.
8
    Mot. for Waiver (Mar. 17, 2023), https://tinyurl.com/bdzbn3k2.

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consideration or decision. Ten days after submitting their application for

full Commission review, Applicants filed this mandamus action.

                              ARGUMENT

      A writ of mandamus “is ‘drastic’; it is available only in

‘extraordinary situations’; it is hardly ever granted; those invoking the

court’s mandamus jurisdiction must have a ‘clear and indisputable’ right

to relief; and even if the [petitioner] overcomes all these hurdles, whether

mandamus relief should issue is discretionary.” In re Cheney, 406 F.3d

723, 729 (D.C. Cir. 2005) (en banc). To obtain mandamus relief, “the

petitioner must satisfy the burden of showing that [its] right to issuance

of the writ is ‘clear and indisputable.’” Cheney v. U.S. Dist. Ct., 542 U.S.

367, 381 (2004) (some internal quotation marks omitted). And “even if

the [essential] prerequisites have been met, the issuing court, in the

exercise of its discretion, must be satisfied that the writ is appropriate

under the circumstances.” Ibid.

      At the outset, Applicants are wrong to suggest (Pet. 23, 32–33) that,

by referring the applications to a hearing, the FCC is somehow failing to

carry out its duty to review the applications.            To be sure, the

Communications Act provides that if the Commission affirmatively “finds

on the basis of the application, the pleadings filed, or other matters which


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it may officially notice” that a license transfer application is in the public

interest, it will summarily grant the application.        But the Act then

provides that if the Commission “for any reason is unable to make th[at]

finding” on the existing record, or if there are substantial and material

questions of fact presented, then it “shall formally designate the

application for hearing.” 47 U.S.C. § 309(d)(2) & (e). The statute thus

requires that when—as here—the FCC cannot determine based on the

record so far that the proposed transfers are in the public interest, the

matter must go to a hearing prior to any final decision.

      Applicants’ real complaint appears to be that the statutorily

required hearing cannot be completed within their desired timeframe.

But nothing allows Applicants to unilaterally limit, through their private

contractual agreements, the time allowed for the government to complete

all necessary review; nor have they shown any unreasonable delay

warranting the extraordinary remedy of mandamus.

      I.    APPLICANTS FAIL TO SHOW ANY CLEAR AND
            INDISPUTABLE ERROR.
      “To meet the ‘clear and indisputable’ requirement, [Applicants]

must show that the [Hearing Order] is ‘plainly and palpably wrong as [a]

matter of law.’” Illinois v. Ferriero, 60 F.4th 707, 714 (D.C. Cir. 2023).



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Insofar as Applicants contend that the Media Bureau erred in referring

the transactions to a full hearing, they do not come close to “meet[ing]

the high threshold” of this “exacting” and “austere” standard. Id. at 710,

714–15.

           A.    Applicants Misapprehend The Relevant Legal
                 Standard.

      To begin with, Applicants misapprehend the legal standard

governing the FCC’s determination whether to proceed to a full hearing.

Applicants seek to rely (Pet. 10, 28–30) on Section 309(d)(1) of the

Communications Act, which sets forth procedural requirements for

petitions to deny filed by third parties.      But Section 309(d)(1) is

inapposite here because the Media Bureau made its own determination

that it was not able to make the affirmative public-interest finding

required to approve the transactions without a hearing.

      Sections 309(d)(2), 309(e), and 310(d) of the Act independently

require the agency to designate an application for hearing—irrespective

of whether any parties have filed petitions to deny—if the agency “for any

reason is unable to find that grant of the application would be consistent

with” the public interest, convenience, and necessity.           47 U.S.C.

§§ 309(d)(2) & (e), 310(d); see Citizens Comm. to Save WEFM v. FCC, 506



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F.2d 246, 259 (D.C. Cir. 1973) (en banc) (discussing “two situations in

which a hearing is required”—either when required by a petition to deny

or “when the Commission is ‘for any reason’ unable * * * to make the

requisite finding that the public interest would be served”). Section

309(d)(1) might come into play if the Commission were otherwise

satisfied that it could approve the transactions based on the pleadings

alone and third parties were seeking to compel a hearing nonetheless,

but it has no bearing on cases where the agency is unable to make the

threshold findings required to approve the transactions without

proceeding to a hearing.

           B.    Applicants’ Substantive Objections To The
                 Hearing Order Are Unfounded.

      Applicants’ contention that there can be no possible basis for

further inquiry into the issues raised in the Hearing Order ignores much

of the relevant evidence in the record that has been developed so far,

including Applicants’ own internal documents that they nowhere

acknowledge or address. That evidence reveals “a good deal of smoke”

supporting the Media Bureau’s decision to conduct a full hearing to “look

into the possible existence of a fire.” Citizens for Jazz on WRVR, Inc. v.

FCC, 775 F.2d 392, 397 (D.C. Cir. 1985).



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      Applicants fare no better in arguing that the Media Bureau’s

concerns somehow lie outside the Commission’s broad mandate to assess

whether the transactions would serve “the public interest, convenience,

and necessity,” 47 U.S.C. § 310(d). The Supreme Court has described the

public-interest standard as “a supple instrument for the exercise of

discretion by the expert body which Congress has charged to carry out its

legislative policy,” FCC v. Pottsville Broad. Co., 309 U.S. 134, 138 (1940),

that confers “expansive powers,” Nat’l Broad. Co. v. United States, 319

U.S. 190, 219 (1943).       To that end, the Court “ha[s] repeatedly

emphasized that the Commission’s judgment regarding how the public

interest is best served is entitled to substantial deference.” FCC v. WNCN

Listeners Guild, 450 U.S. 582, 596 (1981). The two concerns raised by

the Media Bureau here—harm to consumer welfare from artificial

increases in retransmission fees, and harm to broadcast localism through

cuts to local journalism and newsroom staffing—fall comfortably within

the Commission’s established “public interest goals” of “competition,

localism, and viewpoint diversity.” FCC v. Prometheus Radio Project, 141

S. Ct. 1150, 1155, 1156, 1157, 1158, 1160 (2021).




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                  1.     Questions remain about the transactions’
                         effect on retransmission fees

       a. Applicants’ contention that the Media Bureau had no basis to

be concerned that the transactions could enable them to increase the

retransmission fees their stations charge cable and satellite providers—

a cost that would ultimately be borne by consumers in the form of higher

retail prices—is belied by their own internal documents. 9 Numerous

internal documents describe Standard General and Apollo’s plans to

increase the retransmission fees charged by the Tegna stations post-

acquisition by                                  . 10 Sealed Add. 37 n.2, 38,

39, 42, 47–48, 55 n.2, 56, 61. Internal emails between the companies and

their financial advisers describe

                                                                  . Sealed

Add. 44–45; see Sealed Add. 103–08 (CWA et al. 1/13/23 Comments at



9
     Retransmission fees are one of two main sources of revenue for
     broadcast stations, along with sales of local advertising. Hearing
     Order ¶ 20; see Sealed Add. 40–41, 57–58, 62–63. “Over the last
     decade, the fees obtained from retransmission consent agreements
     have become an increasingly significant source of revenue for
     broadcast stations,” while “revenue from the sale of advertising time
     has stagnated or declined.” Hearing Order ¶ 20.
10
     Material in                             concerns business-confidential
     information that was filed with the agency under seal and is redacted
     from the public version of this filing.

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12–17). 11 And the companies expected the transactions to enable them

to impose these substantial rate hikes even though other internal

documents recognize that



                                     . Sealed Add. 52. The documents

sometimes refer to these planned price increases as

               , but these aren’t typical synergies achieved through

increased efficiency or cost savings. Instead, these appear to be projected

revenue increases from price hikes that do not result from any

improvement in the underlying product.

       b. Applicants contend (Pet. 30) that a hearing is unwarranted

because, nine months into the FCC’s review of the applications, Standard

General issued a commitment letter purporting to address one possible

mechanism of increasing retransmission fees, known as “after-acquired

clauses.” 12   As the Media Bureau explained, however, that remains


11
     A redacted public copy of the CWA et al. 1/13/23 Comments is
     available at https://tinyurl.com/3w9947z9.
12
     First Commitment Letter (Dec. 16, 2022), https://tinyurl.com/yc8fna5j.
     “The gist” of these clauses is that “where one station buys another,
     the acquiring station gets to replace the acquired station’s
     retransmission consent agreement with its own, at least with
     [distributors] that were parties to agreements with both stations.”
     Altice 6/22/22 Comments at 1–2, https://tinyurl.com/yw6psjj8.

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unclear. See Hearing Order ¶¶ 28–32. For instance, the promise not to

enforce these clauses was issued by and in the name of only “Standard

General” itself, so there remain questions—unresolved by the current

record—about whether other entities in the ownership chain might

nonetheless still assert the right to enforce those clauses. Id. ¶ 29 n.85;

see ATVA 1/13/23 Comments, supra note 5, at 2, 6–7 (identifying the need

to “ensure that all conditions apply to all entities affiliated with

Applicants”). The commitment letter thus raises additional questions for

the ALJ to investigate about the nature and scope of the Applicants’

belated undertakings. Accordingly, the Media Bureau directed the

Administrative Law Judge to consider whether any increase in

retransmission fees as a result of the transactions “would be mitigated

by the commitments offered by the Applicants.” Hearing Order ¶ 51(a).

      Nor does the commitment letter address other possible mechanisms

by which the transactions could allow Applicants to increase

retransmission fees.   See Hearing Order ¶ 24 (directing the ALJ to

consider “whether such rate increases would be the result of: (1) * * *

after-acquired station clauses * * * or (2) some other anticompetitive

practices or wrongdoing”). For example, the transaction would result in

Apollo possessing a common ownership interest in both the New Tegna


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stations and the Cox stations, which include competing “Top Four”

stations in several major markets. 13       Apollo would therefore have

powerful structural incentives to use the information it obtains as a

partial owner of both sets of stations to help guide or inform the stations’

future negotiations over retransmission fees (as well as other

negotiations, including over advertising, syndicated programming, and

labor agreements).     Applicants purported to address these concerns

through yet another belated commitment letter on December 23, this

time pledging that certain employees associated with New Tegna and

Cox, or with their owners, would not share non-public information about

retransmission fees with their counterparts. 14 But it is not evident how

that pledge could be monitored or enforced, 15 and commenters flagged a

number of potential loopholes or shortcomings for further inquiry. 16


13
     See NCTA 6/22/22 Comments at 1–3, https://tinyurl.com/mr2b46e7;
     ATVA 6/22/22 Comments at 12–15, https://tinyurl.com/dpv632x3.
14
     Third Commitment Letter (Dec. 23, 2022), https://tinyurl.com/5hxj8tpw.
15
     See ATVA 1/13/23 Comments at 2, 4, https://tinyurl.com/22y5es55
     (noting the lack of effective “enforcement or monitoring” provisions);
     Sen.      Elizabeth     Warren       1/11/23   Letter      at    4–5,
     https://tinyurl.com/499926wn (discussing the monitoring and
     enforcement problems with such behavioral remedies); CWA et al.
     1/13/23 Comments at 4–8, https://tinyurl.com/3w9947z9 (similar).
16
     NCTA 1/13/23 Comments, https://tinyurl.com/yckmhsyh; accord
     ATVA 1/13/23 Comments at 3, https://tinyurl.com/22y5es55.

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      If anything, the commitment letters only tend to show that the

transactions as originally proposed, and as pursued by Applicants for

more than nine months, raised real and substantial concerns worthy of

further examination. Given that prior course of conduct and the late

stage at which Applicants submitted their narrowly crafted concessions,

it was reasonable for the Media Bureau to conclude that the agency

should undertake a full hearing to give the transactions a close look,

rather than summarily approve them without further scrutiny.

      c. There is no merit to Applicants’ contention (Pet. 27–28) that the

Commission somehow lacks authority, in assessing whether the

transactions are in the public interest, to examine whether the

transactions would harm consumer welfare by allowing Applicants to

artificially increase retransmission fees. On the contrary, this Court has

affirmed that “competitive considerations are an important element of

the ‘public interest,’” and that the Commission may consider “pertinent

antitrust policies * * * along with other public interest considerations.”

N. Nat’l Gas Co. v. FPC, 399 F.2d 953, 961 (D.C. Cir. 1968); see United

States v. FCC, 652 F.2d 72, 81–82 (D.C. Cir. 1980) (en banc).




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       As the Hearing Order explains, “supra-competitive increases in

retransmission consent fees can result in pressure for retail price

increases * * * to the detriment of consumers, and therefore, the public

interest.” Hearing Order ¶ 21. Applicants thus are wrong to characterize

retransmission agreements as purely a matter of “private contract[s]”

(Pet. 27) between broadcasters and the distributors who pay to carry

their stations, since the resulting retransmission fees are effectively

passed on to consumers who are not parties to those contracts. Id. ¶¶ 20–

21 & n.56. Nothing in the Hearing Order seeks to regulate or restrict

permissible retransmission fee rates or to preclude market-driven fee

increases; it instead seeks only to examine whether such negotiations

would occur on a level playing field in order to ensure that any resulting

agreements are “the result of a properly functioning, competitive

marketplace.” See id. ¶¶ 21–24. 17

       Applicants likewise err in arguing (Pet. 28) that any inquiry into

the transactions’ effect on retransmission fees is foreclosed by


17
     Applicants are wrong to suggest (Pet. 9) that the transactions have
     been found to pose no competition issues simply because the
     Department of Justice did not object during the Hart-Scott-Rodino Act
     waiting period. See 15 U.S.C. § 18a(i)(1) (“any failure * * * to take any
     action” during the waiting period “shall not bar any proceeding or any
     action with respect to such acquisition at any time”).

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Commission precedent. The cited order declined to find that “an increase

in retransmission consent rates, by itself, is necessarily a public interest

harm,” but then added that it would be a cognizable harm “where an

increase is not the product of ‘competitive market considerations’”—for

example, if a transaction would empower the acquirer to increase rates

“as a product of market power.” In re Tribune Media Co., 34 FCC Rcd.

8436, 8451 ¶ 29 (2019); see Hearing Order ¶ 23 (“the Commission noted

that a public interest harm would be more likely if a rise in rates was not

the result of a functioning retransmission consent marketplace”).

        Thus, as the Media Bureau explained, Commission precedent

recognizes that “evidence [of] anticompetitive practices or other

wrongdoing could distinguish what would perhaps constitute a market-

driven rate increase from one that is anti-competitive, unwarranted, and

harmful to consumers and the public interest.” Hearing Order ¶ 24. The

statements in Applicants’ internal documents, reflecting their belief that

the transactions will allow them to substantially increase retransmission

fees without any evident change or improvement in the underlying

product, support the Media Bureau’s determination that further inquiry

is needed to determine on which side of that line the transactions here

fall.

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                 2.    Questions remain about the transactions’
                       effect on local journalism and newsroom
                       staffing

      The Media Bureau also identified significant concerns about

whether the transactions could harm broadcast localism through

reductions in local newsroom staffing and investment.             See Hearing

Order ¶¶ 33–50.       The Bureau’s concerns over localism reflect “a

longstanding core Commission broadcast policy objective” of ensuring

that broadcast licensees are “responsive to the needs and interests of the

communities that their stations are licensed to serve, including local

news, information, and public affairs programming.” Id. ¶ 33; see id.

¶¶ 34–35. “[L]ocal journalism is the heart of local news and community

responsive programming,” so the FCC “take[s] seriously concerns that a

diminution in the employment of local journalists and other local staff

poses a threat to localism.” Id. ¶ 36.

      a. The    Media Bureau       observed   that    Applicants’     internal

documents contain “a series of statements” indicating that Standard

General “has had longstanding plans to reduce station-level resources”

at Tegna, including potential cuts to local journalism and newsroom

staffing. Hearing Order ¶ 37; see id. ¶¶ 38–39.




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       Standard General and Apollo




                                           . Sealed Add. 36, 39, 54, 56, 60,

61; see Hearing Order ¶ 39 & n.113. These figures specifically included

                                                         . Sealed Add. 39,

56, 61; see Sealed Add. 83–88 (CWA 11/14/22 Letter at 3–8); 18 Hearing

Order ¶ 38 & 105. Detailed financial-modeling spreadsheets reflect plans

to



                             . Sealed Add. 64; see Sealed Add. 79 (CWA

9/29/22 Letter at 4); 19 Hearing Order ¶ 38 & n.107. Meanwhile, Tegna

represented to the federal government in a Spring 2022 legal filing that



                     , Sealed Add. 74, indicating that the job cuts

contemplated by Standard General stem from its own acquisition plans.



18
     A redacted public copy of the CWA 11/14/22 Letter is available at
     https://tinyurl.com/bdfk5awf.
19
     A redacted public copy of the CWA 9/29/22 Letter is available at
     https://tinyurl.com/3cpzcbxf.

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      b. The Media Bureau also noted evidence raising questions

whether Standard General would seek to replace local news staff with

remote operations that may be less responsive to local community

concerns.   For example, in operating its current stations, “Standard

General has been producing a faux ‘local’ Cape Girardeau newscast with

anchors, editors, and other staff piped in from Lincoln, Nebraska, more

than 500 miles away.” Hearing Order ¶ 49. Similarly, “questions have

been raised in the record regarding [whether] New TEGNA’s creation and

use of a Washington, D.C., news bureau * * * would increase or reduce

the Stations’ local journalism and coverage of local issues.” Id. ¶ 47.

      c. The Media Bureau further recognized the existence of questions

as to whether the transactions would create structural pressures to

reduce investment in local news and public-affairs programming.

Commenters opposing the transactions “argue that the operating model

of private equity funds like Standard General is to reduce operating costs

by cutting jobs and limiting salaries.” Hearing Order ¶ 45. Applicants,

by contrast, “assert that * * * shifting TEGNA from a publicly-traded

company, tethered to quarterly profit reporting, to a more agile privately-

held company” would allow it to “make longer-term plans and

investments without being punished by the markets.”              Ibid.   These

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“competing narrative[s],” id. ¶ 40, support the case for holding a hearing

to further explore these issues. At the least, “conflicting evidence [in] the

record” about Applicants’ plans “with regard to local staffing at the

TEGNA stations” demonstrate “substantial and material questions of

fact, unresolved by Applicants’ filings, that require further investigation”

through a full hearing. Id. ¶ 43.

      d. Applicants responded to these concerns with yet another

commitment letter (Pet. 30), promising to “not conduct any journalism or

newsroom staffing layoffs or similar reductions at the stations for a

minimum of two years following the Transactions.” Hearing Order ¶ 44.

Not only have commenters identified a series of alleged “deficiencies” in

the commitment letter, see ibid., but that narrow two-year commitment

offers no assurance as to what will happen after two years. A modest

time-limited behavioral remedy does nothing to alleviate any underlying

structural pressures to reduce local investment and staffing, which would

persist after Applicants’ commitment expires.

      e. Applicants’ contention that the FCC lacks authority even to

consider whether the transactions would undermine broadcast localism

through planned cuts to local journalism and newsroom staffing (Pet. 27–



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28) is unfounded. The Supreme Court has explained that it is “vital” that

broadcast licensees “serve the needs of the local community,” Nat’l Broad.

Co., 319 U.S. at 203, and this Court likewise has recognized the need for

the FCC “‘to assure [that licensees have] familiarity with community

problems and then develop programming responsive to those needs,’” see

Citizens Comm. to Save WEFM, 506 F.2d at 267–68. 20

       Applicants cite (Pet. 27) a decision reasoning that the Commission’s

public-interest analysis may not scrutinize licensees’ employment

practices as an independent criterion, but that it may do so when relevant

to “the purposes of its regulatory legislation” in the Communications Act.

Bilingual Bicultural Coal. on Mass Media, Inc. v. FCC, 595 F.2d 621, 628

(D.C. Cir. 1978) (en banc). Here, the Hearing Order makes clear that the


20
     See also, e.g., FCC v. Nat’l Citizens Comm. for Broad., 436 U.S. 775,
     808 (1978) (upholding the Commission’s consideration of local
     ownership based on “[local] owners’ knowledge of their local
     communities and concern for local affairs”); Am. Family Ass’n v. FCC,
     365 F.3d 1156 (D.C. Cir. 2004) (upholding the Commission’s preference
     for awarding noncommercial licenses to established local entities);
     Fidelity Television, Inc. v. FCC, 515 F.2d 684, 701 (D.C. Cir. 1975)
     (upholding finding that an applicant “had acquired the kind of
     interest in local affairs which made [its] station[s] responsive to the
     community,” which was one of the agency’s “ultimate goal[s]”); Ky.
     Broad. Corp. v. FCC, 174 F.2d 38, 40–41 (D.C. Cir. 1949) (upholding
     licensing decision that was based on “superior local programming”
     and “staff assigned to gathering local news”).

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Bureau was permissibly concerned with the effect of post-acquisition

staffing plans on broadcast localism, which the Commission has long

recognized as one of the Communications Act’s core regulatory objectives.

           C.    Applicants’ Objections To The ALJ’s For-Cause
                 Removal Protection Are Unavailing.

      Applicants come nowhere close to showing a “clear and indisputable

right to relief” on their challenges to the ALJ’s removal protections.

      Applicants rely (Pet. 24–25) on Free Enterprise Fund v. Public Co.

Accounting Oversight Board, 561 U.S. 477 (2010), which held that

members of a regulatory oversight board that engaged in policymaking

and enforcement functions could not be subject to multiple levels of

removal protection. The Court reasoned that multilevel protection from

removal for policymaking officials would effectively impede the President’s

duty to “take Care that the laws be faithfully executed.” See U.S. Const.

art. II, § 3. But the Court then expressly declined to decide whether the

same conclusion follows for “that subset of independent agency

employees who serve as administrative law judges,” noting that “unlike

members of” the regulatory oversight board in Free Enterprise Fund,

“many administrative law judges of course perform adjudicative rather

than enforcement or policymaking functions.” 561 U.S. at 507 n.10.



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       Given the very different nature of the adjudicatory—rather than

policymaking—functions of administrative law judges, the President’s

constitutional duties may not be equally impaired by admitting a

somewhat greater degree of decisional independence for administrative

law judges. See Morrison v. Olson, 487 U.S. 654, 691 (1988) (asking

“whether the removal restrictions are of such a nature that they impede

the President’s ability to perform his constitutional duty [in light of] the

functions of the officials in question”); cf. Collins v. Yellen, 141 S. Ct.

1761, 1783 n.18 (2021) (recognizing that removal restrictions may be

justified “on the rationale that [officers serve on] an adjudicatory body,

and, as such, [have] a unique need for ‘absolute freedom from Executive

interference’”). Free Enterprise Fund thus does not speak to the situation

Applicants face here.

       Applicants then seek to rely (Pet. 26) on Jarkesy v. SEC, 34 F.4th

446 (5th Cir. 2022), in which a divided panel of the Fifth Circuit held that

the same bar on multilevel removal protection should apply to ALJs. 21

But Applicants neglect to mention that two other Circuits have reached

the opposite conclusion. Decker Coal Co. v. Pehringer, 8 F.4th 1123,


21
     The government has filed a petition for certiorari in Jarkesy, which
     the Supreme Court has docketed as No. 22-859 (filed Mar. 8, 2023).

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1133–36 (9th Cir. 2021) (holding that multilevel removal protections for

ALJs are permissible in light of their narrow adjudicatory functions);

Calcutt v. FDIC, 37 F.4th 293, 319–20 (6th Cir. 2022) (same); see also

Jarkesy, 34 F.4th at 477–78 (Davis, J., dissenting).              Given these

conflicting decisions, Applicants’ claim that the ALJ’s removal

protections are unlawful is anything but “clear and indisputable.”

      Moreover, even if the ALJ’s removal protections were later held to

be unlawful, that still would not entitle Applicants to any material relief.

Unlike with an officer who is improperly appointed, an “unconstitutional[]

limit[] [on] the President’s authority to remove” an officer by itself

provides “no reason to regard any of the actions taken by [the officer] as

void.” Collins, 141 S. Ct. at 1787; see id. at 1787–89. Instead, actions

taken by such an officer remain valid unless an aggrieved party shows

that the officer would not have reached the same conclusion but for the

improper removal protections. CFPB v. Law Offices of Crystal Moroney,

P.C., --- F.4th ---, 2023 WL 2604254, at *2–3 (2d Cir. 2023); Cmty. Fin.

Servs. Ass’n of Am. v. CFPB, 51 F.4th 616, 632–33 (5th Cir. 2022), cert.

granted on other grounds, 2023 WL 2227658 (U.S. Feb. 27, 2023);

Integrity Adv., LLC v. CFPB, 48 F.4th 1161, 1170–71 (10th Cir. 2022);




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CFPB v. CashCall, Inc., 35 F.4th 734, 742–43 (9th Cir. 2022). Applicants

make no such showing here. 22

       II.   APPLICANTS FAIL TO SHOW ANY UNREASONABLE DELAY.

       For claims of unreasonable delay, mandamus is available “only

when agency delay is egregious.” In re Monroe Commc’ns Corp., 840 F.2d

942, 945 (D.C. Cir. 1988).       “Any discussion * * * must begin with

recognition that an administrative agency is entitled to considerable

deference in establishing a timetable for completing its proceedings,”

Cutler v. Hayes, 818 F.2d 879, 896 (D.C. Cir. 1987), and for matters

presenting “complex * * * policy questions” the agency “must be afforded

the amount of time necessary to analyze such questions.” Sierra Club v.

Thomas, 828 F.2d 783, 798 (D.C. Cir. 1987).

       Applicants’ claims of unreasonable delay by the Media Bureau are

baseless. Applicants sought approval of a complex set of four interrelated

transactions, which by virtue of their complexity can reasonably be



22
     It also is unclear in any event what benefit the Applicants would
     obtain by disqualifying the Administrative Law Judge from presiding
     over the hearing, since the hearing could still continue with the
     Commission itself or an individual Commissioner presiding. See 5
     U.S.C. § 556(b); 47 C.F.R. § 1.241(a); see also 47 C.F.R. § 1.242 (when
     the Commission presides directly over a hearing, it may appoint a
     staff attorney as case manager to develop the record).

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expected to require longer to review than the mine-run of past

applications. The requisite notice-and-comment process attracted scores

of filings raising significant issues. Applicants complain (Pet. 34) that

the Media Bureau conducted multiple pleading cycles, but those were

necessitated by Applicants’ own submissions—including their decision in

December 2022, nine months after first seeking approval, to issue three

new commitment letters purporting to materially alter matters under

consideration.     Upon receipt of the commitment letters, the Media

Bureau conducted an expedited pleading cycle that concluded on January

20, then issued its Hearing Order barely a month later on February 24.

The record here does not show any delay, much less unreasonable or

egregious delay.

      Moreover, if Applicants indeed believed that the Media Bureau was

taking too long to act, they should have raised the issue at that time,

rather than wait until after it issued the Hearing Order.         And any

complaints about the time taken by the Media Bureau to conduct its

initial review are now moot, since the Media Bureau has now completed

that review. See, e.g., Am. Bird Conservancy v. FCC, 516 F.3d 1027, 1030

(D.C. Cir. 2008) (per curiam) (mandamus petition seeking to compel FCC



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action was rendered moot by issuance of an order denying in part,

dismissing in part, and deferring in part the underlying request); In re

NTCH, Inc., No. 18-1122 (D.C. Cir. Oct. 11, 2018) (mandamus moot as to

Bureau proceedings).

      Applicants likewise fail to show any unreasonable delay in any

pending proceedings before the Administrative Law Judge or the

Commission itself. With respect to the ALJ hearing, it is the Applicants

themselves who have repeatedly sought to enjoin that proceeding rather

than allow it to proceed expeditiously. With respect to the Commission,

Applicants sought mandamus relief in this Court just ten days after filing

their application for full Commission review of the Hearing Order.

Moreover, because FCC regulations state that review “shall be deferred”

until after completion of the hearing, 47 C.F.R. § 1.115(e)(1), the

application for review has not yet been properly before the Commission

for consideration and decision for any period of time.

      To support their claim of agency delay, Applicants emphasize (Pet.

31) that their negotiated financing commitments are currently scheduled

to expire on May 22. But that is a deadline of their own making, which

does not render unreasonable—much less “egregious”—the time the

agency has found necessary to complete the required public interest

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inquiry. While Applicants may have their own reasons to wish that these

processes could move more quickly, their private interest in receiving a

decision sooner does not mean that the agency has somehow “delayed”

action on their applications.      Nor can Applicants’ preferred timeline

deprive the government of the power to take the time needed to complete

its statutory obligation to determine whether grant of the applications

would be in the public interest.

       Finally, Applicants cite (Pet. 10, 34, 35–36) an FCC webpage

stating that the agency has an “informal” “goal” of deciding transfer

applications within six months. 23 But that same webpage warns that,

“[a]lthough the Commission will endeavor to meet its 180-day goal in all

cases, several factors could cause the Commission’s review of a particular

application to exceed” that time. 24         It further emphasizes that the


23
     Fed. Commc’ns Comm’n, Informal Timeline for Consideration of
     Applications for Transfers or Assignments of Licenses,
     https://tinyurl.com/3785adh8.
24
     In fact, it would have been impossible in this case to approve the
     transactions within six months. Because portions of the transactions
     involve foreign investment, the transactions required review by a
     separate governmental body, the Committee for the Assessment of
     Foreign Participation in the United States Telecommunications
     Sector, before the Commission could act. See Committee 5/2/22
     Letter, https://tinyurl.com/3yjpcv46. Not until November 17 did the
                                                                  (cont’d)

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Commission’s “statutory obligation to determine that an assignment or

transfer serves the public interest takes precedence over the informal

timeline.” Parties who fail to allow sufficient time to accommodate a

longer process thus do so at their own risk. As this case illustrates, the

determination of the public interest, especially in complex and highly

disputed cases, can sometimes take longer and necessitate further

inquiry.




    Committee notify the Commission that it had completed its review
    and that the Commission could proceed. See Committee 11/17/22
    Letter, https://tinyurl.com/mrx5r7jv.

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                            CONCLUSION

      The petition for writ of mandamus should be denied.


Dated: April 11, 2023               Respectfully submitted,

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             CERTIFICATE OF FILING AND SERVICE

      I hereby certify that on April 11, 2023, I caused the foregoing

Opposition to Petition for Writ of Mandamus to be filed with the Clerk of

Court for the United States Court of Appeals for the District of Columbia

Circuit by submitting a redacted public filing using the electronic

CM/ECF system and by e-mailing the sealed filing to the Clerk’s Office

pursuant to D.C. Circuit Standing Order No. 20-2, and by causing five

paper copies of the redacted public filing and five paper copies of the

sealed filing to be delivered to the Clerk of Court.

      I further certify that all participants in the case are registered

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                                   /s/ Scott M. Noveck
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                                   Counsel for Respondent
                                   Federal Communications Commission




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